               IN THE UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                        WESTERN DIVISION

                         CASE NO. 5:23-CV-00493-FL

INTERDIGITAL INC., INTERDIGITAL
VC HOLDINGS, INC., INTERDIGITAL
PATENT HOLDINGS, INC., and
INTERDIGITAL MADISON PATENT
HOLDINGS SAS,

           Plaintiffs,

           v.

LENOVO (UNITED STATES) INC.,
LENOVO PC HK LTD., and MOTOROLA
MOBILITY LLC,

           Defendants.


 INTERDIGITAL’S MEMORANDUM IN SUPPORT OF UNOPPOSED MOTION TO
    SEAL EXHIBITS D, F, AND I TO THE DECLARATION OF JACK WILSON
                              (DKT. NO. 108)




    Case 5:23-cv-00493-FL-RN Document 118 Filed 06/05/24 Page 1 of 11
     I. INTRODUCTION

          Pursuant to Fed. R. Civ. P. 26(c), Local Rules 7.1 and 79.2, and the Protective Order entered

in this Case, InterDigital, Inc., InterDigital VC Holdings, Inc., InterDigital Patent Holdings, Inc.,

and InterDigital Madison Patent Holdings SAS (collectively, “InterDigital” or “Plaintiffs”) submit

this Motion to Seal Exhibits D, F, and I to the Declaration of Jack Wilson (Dkt. No. 108).

          The need for this motion arises out of Lenovo’s motion to compel documents, filed on May

17, 2024. Dkt. No. 107. Along with that motion, Lenovo filed the Declaration of Jack Wilson,

which contains nine exhibits. Dkt. No. 108. Lenovo provisionally filed the declaration and nine

exhibits under seal. Dkt No. 109. In a June 4, 2024 Text Notice, this Court reminded InterDigital

that it needed to move to seal any provisionally sealed documents containing confidential

information and gave InterDigital five days from the date of the Text Notice to do so. InterDigital

apologizes for its oversight and thanks the Court for its Text Notice.

          Accordingly, pursuant to the Text Notice, InterDigital respectfully moves to keep

unredacted versions of Exhibit D (Dkt. No. 108-4), Exhibit F (Dkt. No. 108-6), and Exhibit I (Dkt.

No. 108-9) under seal (InterDigital’s motion does not seek to keep the declaration or remaining

exhibits under seal). Exhibit I contains a comprehensive list of the licensees to the Asserted Patents,

which is sensitive commercial information not publicly disclosed, the disclosure of which would

competitively harm InterDigital’s ability to license and negotiate with third parties. Similarly,

Exhibit F contains a statement describing the types of documents allegedly exchanged between

InterDigital and specific licensees, including documents exchanged under a non-disclosure

agreement. Exhibit D contains a statement purporting to characterize, from Lenovo’s perspective

at least, a portion of the negotiation history between the parties. 1 The public dissemination of the



1
    InterDigital does not agree with Lenovo’s characterization of the negotiations.

                                                       1
         Case 5:23-cv-00493-FL-RN Document 118 Filed 06/05/24 Page 2 of 11
confidential information contained in Exhibit D, even if not accurate, would harm InterDigital’s

ability to fairly negotiate patent licenses with Lenovo and with other third parties. The non-

disclosure agreement between the parties obligates Lenovo to protect the confidentiality of

InterDigital’s confidential information and prohibits many uses by Lenovo of InterDigital’s

confidential information outside of their ongoing negotiations. The Court has previously sealed

the confidential information in Exhibit D. See Dkt. Nos. 62 & 80. Should the Court grant

InterDigital’s motion, it will file redacted versions of Exhibits D, F, and I with only the above-

mentioned confidential information redacted.

  II. LEGAL STANDARD

       Under Federal Rule of Civil Procedure 26(c)(l), a court may, for “good cause,” order

sealing or other limitations to protect a party’s confidential information. The discretion afforded

the court is broad and must be “exercised in light of the relevant facts and circumstances of the

particular case.” Va. Dep’t of State Police v. Wash. Post, 386 F.3d 567, 575 (4th Cir. 2004) (quoting

Nixon v. Warner Communications, Inc., 435 U.S. 589, 599 (1978)). The Fourth Circuit has

explicitly set forth the standards and procedure for maintaining documents under seal. A court

considering a motion to maintain documents under seal must first determine the nature of the

information and the public’s right to access. Stone v. Univ. of Md. Medical Sys., Corp., 855 F.2d

178, 180 (4th Cir. 1988); Sempowich v. Tactile Sys. Tech., Inc., No. 5:18-CV-488-D, 2020 WL

2789792, at *1 (E.D.N.C. May 29, 2020). Although there is a general presumption that the public

has the right to access documents in the files of the courts, this presumption may be overcome “if

the public’s right of access is outweighed by competing interests.” Ashcraft v. Conoco, Inc., 218

F.3d 288, 302 (4th Cir. 2000) (quoting In re Knight Pub. Co., 743 F.2d 231, 235 (4th Cir. 1984)).




                                                 2
       Case 5:23-cv-00493-FL-RN Document 118 Filed 06/05/24 Page 3 of 11
       To grant a motion to seal, the Court must comply with certain substantive and procedural

requirements. Wash. Post, 386 F.3d at 576. Substantively, the Court first must determine the source

of the right of public access with respect to each document, or portion thereof, to be sealed. Stone,

855 F.2d at 180; Hall v. United Air Lines, Inc., 296 F. Supp. 2d 652, 679 (E.D.N.C. 2003), aff’d

sub nom. Hall v. Am. Airlines, Inc., 118 F. App’x 680 (4th Cir. 2004). “The right of public access

to documents or materials filed in a district court derives from two independent sources: the

common law and the First Amendment.” Wash. Post, 386 F.3d at 575. The strength of the public’s

right of access varies depending on which of these sources applies in a given case. See U.S.

Tobacco, Inc. v. Big South Wholesale of Virginia, LLC, No. 5:13-CV-527, 2014 WL 2085332, at

*1 (E.D.N.C. May 19, 2014) (recognizing that the strength of the public’s right of access varies

depending on whether it is derived from common law or the First Amendment).

       Where the documents sought to be sealed are not submitted in support of or opposition to

any motion seeking dispositive relief, the right of access arises under common law, not the First

Amendment. See Covington v. Semones, No. 7:06-CV-614, 2007 WL 1170644, at *2 (W.D. Va.

Apr. 17, 2007) (“In this instance, as the exhibits at issue were filed in connection with a non-

dispositive motion, it is clear there is no First Amendment right of access.”); see also ASUS

Computer Int’l v. Round Rock Research, LLC, No. 12-cv-02099 JST (NC), 2014 U.S. Dist. LEXIS

84571, at *6, 2014 WL 2810193 (N.D. Cal. June 20, 2014) (“Motions to strike are treated as non-

dispositive for sealing purposes.”); Durr Sys., Inc. v. Efc Sys. Inc., No. No. GJH-18-2597, 2021

U.S. Dist. LEXIS 20263, at *7 2021 WL 351175 (D. Md. Feb. 2, 2021) (party requesting to strike

“pursuant to Fed. R. Civ. P. 12(f)(1) rather than under the ‘dispositive mechanism of Rule 12(c)’”).

Although there is a presumption that the public may have access to judicial records and documents,

this access is proscribed by a party’s right to privacy and to protect trade secrets and confidential



                                                 3
       Case 5:23-cv-00493-FL-RN Document 118 Filed 06/05/24 Page 4 of 11
and proprietary business information. See Nixon, 435 U.S. at 598 (noting that public access may

be inappropriate for “business information that might harm a litigant’s competitive standing”);

Glaxo Inc. v. Novopharm Ltd., 931 F. Supp. 1280, 1299 (E.D.N.C. 1996). “The ‘protection of a

party’s interest in confidential commercial information, such as a trade secret, where there is a

sufficient threat of irreparable harm’ is a recognized exception to the ‘presumptive openness of

judicial proceedings.’” Sempowich, 2020 WL 2789792, at *2 (quoting Publicker Indus., Inc. v.

Cohen, 733 F.2d 1059, 1070-71 (3d Cir. 1984)).

       The presumption of access under the common law is not absolute and its scope is a matter

left to the discretion of the district court. Wash. Post, 386 F.3d at 575. The presumption “can be

rebutted if countervailing interests heavily outweigh the public interest in access.” Id. (quoting

Rushford v. New Yorker Mag., Inc., 846 F.2d 249, 253 (4th Cir. 1988)). “Some of the factors to be

weighed in the common law balancing test ‘include whether the records are sought for improper

purposes, such as promoting public scandals or unfairly gaining a business advantage; whether the

release would enhance the public’s understanding of an important historical event; and whether

the public has already had access to the information contained in the records.’” Id. (quoting In re

Knight Publ. Co., 743 F.2d at 235).

       Procedurally, the district court must: “(1) provide public notice of the request to seal and

allow interested parties a reasonable opportunity to object, (2) consider less drastic alternatives to

sealing the documents, and (3) provide specific reasons and factual findings supporting its decision

to seal the documents and for rejecting the alternatives.” Ashcraft, 218 F.3d at 302. Notably,

however, public notice is satisfied through the docketing of a party’s motion to seal. Stone, 855

F.2d at 181; Blow v. Murphy-Brown, LLC, No. 7:14-CV-232, 2021 WL 6106213, at *1 (E.D.N.C.

May 19, 2021).



                                                  4
       Case 5:23-cv-00493-FL-RN Document 118 Filed 06/05/24 Page 5 of 11
  III. ARGUMENT

       Exhibit D (Dkt. No. 108-4), Exhibit F (Dkt. No. 108-6), and Exhibit I (Dkt. No. 108-9) to

the Declaration of Jack Wilson contain sensitive InterDigital confidential information and

information that is subject to an NDA. InterDigital therefore respectfully requests that the Court

enter an order allowing unredacted versions of these documents to remain sealed.

        A.     InterDigital’s Interest in Protecting Its Confidential Information Outweighs
               the Public Interest.

       InterDigital seeks to only seal confidential business information reflected in Exhibits D, F,

and I. These documents were filed as exhibits to a declaration and relate to Lenovo’s motion to

compel, which is a non-dispositive, pre-trial motion and has no bearing on the substantive rights

of the parties. Therefore, it does not implicate the public right of access guaranteed by the First

Amendment. See, e.g., Wash. Post, 386 F.3d at 580. Accordingly, the lesser right of access under

the common law is applicable to determine whether the Court should seal the identified portions

of Exhibits D, F, and I.

       In applying this standard, the courts have repeatedly recognized that a party’s interest in

protecting proprietary, sensitive, or otherwise confidential information from public dissemination

will often outweigh the public’s interest in accessing such information. See Nixon, 435 U.S. at 598

(noting that public access may be inappropriate for “business information that might harm a

litigant’s competitive standing”); Sempowich, 2020 WL 2789792, at *4–5 (collecting cases and

finding that sealing the information was “essential to protect its confidential information”); Bayer

Cropscience Inc. v. Syngenta Crop Prot., LLC, 979 F. Supp. 2d 653, 656-57 (M.D.N.C. 2013)

(holding that “certain marketing [and] sales” information should be sealed as it was “not ordinarily

public” and would cause “harm[ ] by public disclosure”). The same is true here. The information




                                                 5
       Case 5:23-cv-00493-FL-RN Document 118 Filed 06/05/24 Page 6 of 11
sought to be sealed is of a similar character as discussed in these cases. Therefore, the sealing of

the limited information at issue here is appropriate.

        B.     InterDigital’s Request Complies with the Fourth Circuit’s Procedural
               Requirements.

               1.      Public notice requirements have been satisfied.

       The Fourth Circuit requires that the public be provided notice of any request to seal judicial

documents and a reasonable opportunity to object to any such request. Ashcraft, 218 F.3d at 302.

This requirement is satisfied through the docketing of a party’s motion to seal. Stone, 855 F.2d at

181; Blow, 2021 WL 6106213, at *1. At this time, InterDigital is not aware of any party that objects

to this motion. Nonetheless, the public will have sufficient time to respond and lodge any

objections before the Court is anticipated to rule on this motion.

               2.      InterDigital seeks the least drastic option.

       Under Federal law, the redaction of confidential material is generally considered a less

drastic alternative to filing an entire document or motion under seal. SMD Software, Inc. v. EMove,

Inc., No. 5:08-CV-403-FL, 2013 WL 1091054, at *2 (E.D.N.C. Mar. 15, 2013) (allowing in part

motion to seal confidential pricing, market strategies, expense information, and revenue and

revenue growth information, and directing copies with only redacted information be filed); Bell v.

Shinseki, No. 1:12-CV-57, 2013 WL 3157569, at *9 (M.D.N.C. June 20, 2013), aff’d, 584 F. App’x

42 (4th Cir. 2014). Recognizing this preference, InterDigital has carefully selected only those

portions of Exhibits D, F, and I that require redacting, such that it proposes only the most sensitive

information be omitted from the public record. The portions of Exhibits D, F, and I that InterDigital

seeks to maintain under seal constitute limited information in narrowly selected portions.

Consequently, only a small portion of these Exhibits would be shielded from the public. At the




                                                  6
       Case 5:23-cv-00493-FL-RN Document 118 Filed 06/05/24 Page 7 of 11
present time, InterDigital is not aware of any less drastic means for protecting its sensitive

commercial information from public disclosure other than the minimal redactions proposed here.

               3.      Specific facts support sealing the requested information.

       The contents of the above-identified portions of Exhibits D, F, and I relate to confidential

information regarding a comprehensive listing of licensees to the Asserted Products (Exhibit I),

contain a statement describing documents allegedly exchanged between InterDigital and specific

licensees, including documents exchanged under a non-disclosure agreement (Exhibit F), and

contain information related to licensing negotiations protected by the NDA entered into between

the parties (Exhibit D). The public dissemination of such competitively-sensitive and

commercially-valuable information would harm InterDigital’s ability to fairly negotiate patent

licenses with Lenovo and with other third parties and harm InterDigital’s business relations.

Accordingly, maintaining this limited information under seal is appropriate.

IV.    CONCLUSION

       For the foregoing reasons, InterDigital respectfully requests this Court grant InterDigital’s

Motion to Seal.



                                                     Respectfully Submitted,


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                                                 7
       Case 5:23-cv-00493-FL-RN Document 118 Filed 06/05/24 Page 8 of 11
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                                8
Case 5:23-cv-00493-FL-RN Document 118 Filed 06/05/24 Page 9 of 11
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                                9
Case 5:23-cv-00493-FL-RN Document 118 Filed 06/05/24 Page 10 of 11
                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above document has been served on all

counsel of record via the Court’s CM/ECF system on June 5, 2024.

                                                    /s/ M. Scott Stevens
                                                    M. Scott Stevens




                                               10
      Case 5:23-cv-00493-FL-RN Document 118 Filed 06/05/24 Page 11 of 11
